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                        UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


                                     )                Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND )
NEXT FRIENDS, M.D. and P.D.          )
                                     )
                      Plaintiffs,    )
v.                                   )
                                     )
NATICK PUBLIC SCHOOL DISTRICT )
and                                  )
BUREAU OF SPECIAL EDUCATION          )
APPEALS,                             )
                                     )
                      Defendants.    )
                                     )


                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                                         (RENEWED)


         NOW come the Plaintiffs, M.D. and P.D., individually and on behalf of C.D.

 (“Parents”) and pursuant to Rule 56 of the Federal Rules of Civil Procedure, hereby move

 for Summary Judgment in the above-referenced matter, and request that this Honorable

 Court allow Parents’ Motion and enter judgment on behalf of Parents.

       As grounds for this Motion, the Parents state that there are no genuine issues of

material facts in dispute and the Parents are entitled to judgment as a matter of law. As a result,

the Decision of the Bureau of Special Education Appeals (“BSEA”), dated July 24, 2015,

Student v. Natick Public Schools, BSEA Docket 1408860, should be reversed and this Court
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should find that Parents’ are entitled to attorney fees.

       In support of their renewed Motion for Summary Judgment, the Parents resubmit

Plaintiffs’ Amended Memorandum of Law in Support of Motion for Summary Judgment (ECF

No. 38), Plaintiff’s Amended Statement of Undisputed Material Facts (ECF No. 39),

Plaintiff’s Reply to Natick Public Schools’ Response to Plaintiffs’ Motion for Summary

Judgment (ECF No. 52), and Plaintiffs’ Reply to Natick Public Schools’ Response to

Plaintiffs’ Amended Statement of Material Facts and Natick Public Schools’ Additional

Statement of Undisputed Material Facts (ECF No. 53).

         WHEREFORE, the Plaintiffs, M.D. and P.D., individually and on behalf of

 C.D, request that this Honorable Court allow Plaintiffs' Motion for Summary

 Judgment.


DATED this 15th day of May 2017.


                                               Respectfully submitted,

                                               C.D., by and through her PARENTS AND
                                               NEXT FRIENDS, M.D. and P.D.

                                              By their attorney,

                                               /s/ Laurie R. Martucci
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”),
and paper copies will be sent to those indicated as non-registered participants on May 15, 2017.



                                                        /s/ Laurie R. Martucci
                                                        Laurie R. Martucci
